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         Notice of Removal
         Attachment No. 1



     Complaint for Breach of
Contract and Declaratory Judgment
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                                                                              CASE NUMBER: 18-2-05212-2 SEA
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 7                 SUPERIOR COURT OF WASHINGTON FOR KING COUNTY

 8   PHYTELLIGENCE, INC.,                                NO.                              SEA
 9                  Plaintiff,                           COMPLAINT FOR BREACH OF
                                                         CONTRACT AND DECLARATORY
10           v.                                          JUDGMENT
11   WASHINGTON STATE UNIVERSITY,
12                  Defendant.
13

14                                           I. PARTIES
15           1.     Phytelligence, Inc. (“Phytelligence”) is a Washington corporation headquartered
16   in Seattle, Washington.
17           2.     Washington State University (“WSU”) is a Washington state agency located in
18   Pullman, Washington.
19                                 II. JURISDICTION & VENUE
20           3.     Jurisdiction and venue are proper in this court pursuant to RCW 4.92.010.
21                                            III. FACTS
22           4.     Phytelligence utilizes cutting-edge science that employs revolutionary
23   techniques to propagate plants at much faster than conventional rates, allowing lead time for
24   the growth of plants to be compressed substantially, thus enabling plants to grow more quickly
25


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 1   and bear fruit faster. Phytelligence was founded by Dr. Amit Dhingra, an associate professor at

 2   WSU, who remains Phytelligence’s Chief Science Officer.

 3           5.       Phytelligence was created to address the needs of food crop growers. For

 4   decades, the legacy nursery industry has severely underserviced grower demand, at least in part

 5   because of the shortcomings of traditional growth methods. Traditional growth methods for

 6   developing a fruit tree requires 10 to 12 years before the tree is commercially viable.

 7   Phytelligence leverages new methods and technology to meet that demand, and to do so in 5

 8   years or less.

 9           6.       On or about November 6, 2012, Dr. Dhingra asked representatives at

10   Washington State University Research Foundation (“WSURF”) about opportunities to

11   propagate a new apple cultivar, identified as ‘WA 38,’ which, on information and belief, had

12   been developed by employees of WSU and was wholly owned by WSU and/or WSURF.

13           7.       On information and belief, WSURF, a 501(c)(3) entity separate from WSU,

14   carried out technology licensing for WSU prior to the formation of the Washington State

15   University Office of Commercialization (“WSU-OC”), which is part of WSU and which now

16   carries out technology licensing for WSU, following the dissolution of WSURF in or about

17   2013. As used herein, “WSU” includes WSURF and WSU-OC.

18           8.       On or about November 27, 2012, Phytelligence and WSURF entered into an
19   Agreement to Propagate Apple Cultivar Plant Materials For Washington State University

20   (“Propagation Agreement”). See, Exhibit A. The purpose of the Propagation Agreement was

21   to support WSU in providing WA 38 plant material “for the purposes of Distributing said

22   plants to nurseries, growers, and others under WSURF license agreements.” See, Exhibit A,

23   ¶3. The recitals of the Propagation Agreement further stated:

24

25


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 8           9.     In summary, as expressly provided in these recitals, because WSU did not have

 9   the necessary facilities to propagate, grow, and maintain Certified Virus-Tested plants—but

10   Phytelligence did and was willing to do so—WSU requested Phytelligence’s services in

11   propagating WA 38 materials for the eventual sale to third parties. In exchange for these

12   services, WSU granted to Phytelligence the option to propagate WA 38 for commercial sale, as

13   a provider and/or seller in WSU licensing programs. See, Exhibit A, Section 4.

14           10.    Absent WSU’s grant of the option for Phytelligence to propagate WA 38

15   plantlets and trees for commercial sale and disseminate large quantities of the highest quality

16   WA 38 to growers, Phytelligence would have had little incentive to enter into the Propagation

17   Agreement and to make the significant investment in resources required to perform under the

18   Propagation Agreement.

19           11.    Pursuant to the Propagation Agreement, Phytelligence obtained from WSU

20   Certified Virus-Tested WA 38 budwood with which to propagate Plant Materials for WSU.

21   See, Exhibit A, Section 5 and Ex. A.

22           12.    Phytelligence performed and propagated materials in compliance with its

23   obligations in the Propagation Agreement. Under the Propagation Agreement, Phytelligence

24   has successfully propagated over 200 self-rooted WA 38 budwood trees. Moreover,

25   Phytelligence has demonstrated its ability to leverage its advanced technologies to produce


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 1   high quality Certified Virus-Tested materials in a reliable fashion, with the additional benefit

 2   that large volumes of virus and disease free, genetically confirmed true to type WA 38

 3   materials can be made available to service the unmet demand for growers much more quickly

 4   than through traditional methods.

 5           13.    The Propagation Agreement contains two conditions which must be satisfied for

 6   Phytelligence to exercise its option to commercialize WA 38: (1) WSU must have officially

 7   released WA 38, and (2) Phytelligence must be an authorized provider in good standing with

 8   the WA State Fruit Tree Certification program. See, Exhibit A, Section 4. If those conditions

 9   are met, Phytelligence is entitled to exercise its option to secure a license by WSU or an agent

10   of WSU. See, id.

11           14.    Both of these conditions were met long ago. WSU officially released WA 38

12   for commercialization in 2014, and Phytelligence has maintained itself as an authorized

13   provider in good standing by the WA State Fruit Tree Certification program since 2012.

14           15.    Since the launch of WA 38, Phytelligence has been working with decision

15   makers and stakeholders at WSU and to obtain the right to sell WA 38 plant materials

16   consistent with its rights in the Propagation Agreement.

17           16.    Strangely, Phytelligence has met substantial resistance by the decision makers at

18   WSU, despite its clear contractual right to a non-exclusive commercial license. That resistance
19   has taken many forms, including misrepresentation of the rights granted to Phytelligence under

20   the Propagation Agreement.

21           17.    On or about January 2014, WSU entered into an Intent to Commercialize

22   Agreement with Proprietary Variety Management, LLC (“PVM”). PVM then executed an

23   exclusive sub-license to the Northwest Nursery Improvement Institute (“NNII”) to manage

24   propagation of WA 38 by nurseries, which was publicly announced in or around March 2014.

25   The nurseries would include Brandt Fruit Trees, LLC. Notably, on information and belief,


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 1   Lynnell Brandt is the owner of Brandt Fruit Trees, LLC, is the current President of PVM, and

 2   was the Previous president of NNII. Moreover, on information and belief, Lynnell Brandt’s

 3   son, Kevin Brandt, is currently a PVM executive, an NNII executive, and a Brandt Fruit Trees,

 4   LLC executive.

 5           18.    In the public announcement of NNII’s involvement in the management of

 6   propagation of WA 38 plan materials, PVM indicated that there had been no decision as to

 7   whether Phytelligence would participate in the propagation and/or commercialization of WA

 8   38.

 9           19.    Effective June 27, 2014, WSU and PVM entered into the Management Contract

10   for Commercialization of Washington State University Apple Cultivar, ‘WA 38’. That

11   agreement granted PVM exclusive propagation and commercialization rights to WA 38 and

12   provided that NNII would be the exclusive subcontractor for propagation of WA 38. The

13   document functions as a license agreement for the commercialization of WA 38, and closely

14   resembles, by its express terms, an exclusive license agreement.

15           20.    Neither before or after PVM was granted this exclusive license for WA 38 did

16   WSU notify Phytelligence either that it intended to provide PVM an exclusive license, nor that

17   it had done so. At no point did WSU address the non-exclusive license option held by

18   Phytelligence pursuant to the Propagation Agreement. Instead, WSU elected to exclude
19   Phytelligence inappropriately from related discussions. WSU also engaged in multiple

20   communications which contained incomplete, inaccurate, and/or misleading information using

21   its considerable power, intentionally or negligently, to undermine Phytelligence’s option right

22   and effectively prevent Phytelligence from propagating WA 38 commercially.

23           21.    During that same time frame, publicly available documents and industry

24   feedback received by Phytelligence indicated the supply of WA 38 would be insufficient to

25   meet the substantial demand. Phytelligence was approached by multiple growers who wished


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 1   to purchase WA 38 budwood from Phytelligence, but ultimately Phytelligence could not

 2   service that demand despite holding the right to a commercial license.

 3           22.    In 2016, Phytelligence again turned to WSU to assist in formally obtaining its

 4   commercial license, so that it could meet the inbound requests for orders it was receiving from

 5   growers.

 6           23.    Phytelligence’s option in the Propagation Agreement grants it a right to license

 7   from WSU or its agent. However, based on representations and direction by WSU and Mr.

 8   Brandt, which Phytelligence reasonably relied upon, Phytelligence sought the ability to

 9   commercially propagate WA 38 through PVM. Phytelligence’s efforts to obtain a commercial

10   license through PVM were unsuccessful. Phytelligence was informed that it needed to join

11   NNII, a subcontractor of PVM, in order to obtain a commercial license for WA 38. While

12   Phytelligence approached these discussions diligently and in good faith, its efforts proved futile

13   because of, among other things, NNII’s unwillingness or inability to provide Phytelligence

14   with objective criteria or other requirements for membership.

15           24.    Phytelligence engaged for over two years in negotiations and multiple

16   communications with WSU with the goal of exercising its option for a commercial license

17   granted in the Propagation Agreement. Yet, WSU’s actions and inactions, as well as the

18   actions and inaction of its agent(s) and others have prevented Phytelligence from executing its
19   commercial license.

20           25.    Despite Phytelligence’s continuous efforts to secure a commercial license

21   consistent with its option rights in the Propagation Agreement, WSU has purported to

22   terminate the Propagation Agreement—and with it, Phytelligence’s option rights—and has

23   demanded that Phytelligence destroy all materials produced in accordance with the Propagation

24   Agreement.

25


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 1                                      IV. CAUSES OF ACTION
 2                                      BREACH OF CONTRACT
 3           26.      Phytelligence restates and incorporates by reference the allegations contained in

 4   paragraphs 1-25 of the Complaint.

 5           27.      By entering into its arrangements with PVM and refusing to honor the

 6   obligations in the Propagation Agreement, WSU has materially breached its obligations to

 7   Phytelligence.

 8           28.      The breaches of the Propagation Agreement by WSU proximately caused

 9   damage to Phytelligence in an amount to be proven at trial.

10                                   DECLARATORY JUDGMENT
11           29.      Phytelligence restates and incorporates by reference the allegations contained in

12   paragraphs 1-28 of the Complaint.

13           30.      Pursuant to RCW 7.24 et. seq. Phytelligence is entitled to declaratory judgment

14   to determine its rights and status of under the Propagation Agreement, including, whether

15   WSU breached the Propagation Agreement and Phytelligence’s entitlement to a commercial

16   license for WA 38.

17           31.      The granting of such a declaratory judgment will serve a useful purpose in

18   clarifying and settling the legal relations in issue and will afford relief from the uncertainty,
19   insecurity and controversy giving rise to the proceeding.

20                                      V. RELIEF REQUESTED
21                    Wherefore, Plaintiff requests the Court grant the following relief:

22           1.       A declaration and order finding that WSU has breached the Propagation

23                    Agreement;

24

25


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 1           2.    Specific performance of the Propagation Agreement resulting in issuance of a

 2                 license to Phytelligence by WSU or its agent to propagate WA 38 plant

 3                 materials for commercial sale;

 4           3.    An award of damages in an amount to be proven at trial and an award of costs

 5                 and fees authorized by law or in equity;

 6           4.    And such other or further relief, whether legal or equitable, as the Court may

 7                 find merited.

 8           DATED this 23rd day of February, 2018.

 9
                                                      s/Daniel A. Brown, WSBA #22028
10                                                    Daniel A. Brown, WSBA #22028
                                                      Daniel J. Velloth, WSBA #44379
11                                                    Attorneys for Plaintiff Phytelligence, Inc.
                                                      WILLIAMS, KASTNER & GIBBS PLLC
12                                                    601 Union Street, Suite 4100
                                                      Seattle, WA 98101-2380
13                                                    Telephone: (206) 628-6600
                                                      Fax: (206) 628-6611
14                                                    dbrown@williamskastner.com
                                                      dvelloth@williamskastner.com
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            AGNEEMÛNT TO PROPÀGAI'N APPLE CULTTVAR PTANT MATERIALS
                       ¡.OR \ilASHINGTON STÀTN UT{TVERSITY


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br¡siness at 1300 NE ltenlcy Ct., Pullruan, WA 99163.

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            of tlds Agreement.

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                                                                                   set forth below:
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WSUlìF-Phytelligence, Inc., r\pple Btrdwood Prop, Agtrtrt             1 1127   112                   Page   I of5


                                                    EXHIBIT A - 1
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           not con$titute a sale thereof by WSU or WSIIRF to Pt'opagatot

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            and c) deiennining cotnpliance by Propagator with the terms of this Agrcetnent'

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            belrveen Propagåtor ancl Br eeder




r#SuRF-Ph¡clligencc, Inc., Applc Budwood PIop. Agrmt                Ll 127 I Lz                      Page2     of5


                                                  EXHIBIT A - 2
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2.   @Igr          \4rsu AND WSURF MAKE NO REPRESENTATTONS AND EXTEND NO
     WARRANTmS OF ANy KIND, EITI-IER gXpItEsS OR IMPLttiD. NEITIIER WSU
                                                                             NOR
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     FRÛM PESTS AT{DIOR DT.SEA.SRS TFIAT MAY POSE A THRÞ\T TO CO¡VIMERCIAL
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     COPYRIGI{T, TRÂDEMARK, OR OTHER IN'TELLECTUAL PROPERTY RIGHTS.
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     wsu NoR wsuRF sHALL Ég RnsToNSIBLË FoI{ DAMAcE't'o PLANT IvfATERIALS IN
     TRANSIT OIT LosSES DUE TO POOR GROWING COT{DITIONS OR IIYTPITOPEIT CARE.

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     propagator snah   Uã   ir¡mediately reported to Birctlu and shall be the axolusive t'roper[y of WSU.

4,                                                                                                          ts
     PR(]GRAMS:         If   Propagator is an authoriz-ed ptovider in goocl standing unrler
     Washington State Filit Tree Certification Prograrn in accordance with Sectiott 5, belorv, by signing
     this Agteenrerrt, Propagator is hereby granted nn option to pa{icipate as a pt'ovider andlor scller of
     Plant lvlatorials listed in Frúibit A, if the Cultivat is officiallY rcle¿sed by WSU and becomes
     available for licensirrg by WSURF, ou åll agent of \MSURF. Propngator will necd to sigtt a separate
                                                      to exeroise this option. If arry of the tüSU Cultivars
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     contlact with WSURF, ol an agent of
     listed in ExhibitA art not released by WSU, Prnpagator agltes to destroy all Plant Materials of such
     Cultivam upon w'itten notification by WSURI¡ that it wìll not releose a specific Cultivar'. It is
     nnticþated that this Agreement rvill l¡e at¡rended li'ottt lime-to-time to include additional Cultivars
     under Exhibit A.

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     PROPAGAI'OR UNDDR              NB|TSPS   PROGRÄM¡

      a.   propagator may obtain Certificcl.Virr¡s-Tested llflnt Mpterial ûom tlrp nranngol of the NRSP5
           progtã1¡1 (WSÚ's IARECJl.osser.;WA) or Certified Virus-Tested tnies ft'om any site applovetl
           undãr the-\Vaehingfon State Fruit 'fiee Certificûliotl Progratn once this Agreemcnt has been
           signecl betwee¡r Propagatot aurl WSIJRF

      b. By accepfing Certified    Virrs-Free Plant Materials, Propagator walrants that it is an atrtltorized
           pá.n"¡p*t under the Washington State Fnrit Trec Cerliücation Þrogtam and thât it rnlll
           Þrrcpngate the Plant Matelials in accoldance rvith the requit'emeuts of that ProgÍsm.

6. PTIBLICIIY: Propagator shall not use the nanre of IjVSU, nor alty.ndaplatìon,.syrnbol,          or togo of
     @adveriisIrrg,promotional,ot.s8lcs1iteraturcrvithouttlrepriot'rvl.ittenpermissionof
     WSUoTWSIJRF




lVSURF-Phytelligence, Inc., .Apple Budwood Ptop' Aguttl         ltl27 ltz                 Page 3   of5


                                                EXHIBIT A - 3
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7. TpRMII{4\TIgNr. Either pslty. may terminnte this Agreement-plior to the Tennination Date
   G"ffiÑ'*respect.toanyoialloftheCu1tlv¿usliste<linBxhibitAoftlúsAgeementfotto
     aoy rca$on by-providíng sixty (60) days witten notice to the other parly. Propagator agregq
     deítroy, orrel¡nquísh coitrol óf,   *i or all, Cultivais covered in the r,¡rrt'itten notification within thirty
     ClOl d¡ays of the'date ol notlce of iennination. If thete
                                                                 has been no prior nolice of terminatio4 by
     àitúur ¡i,trty, ihis Agrcenrent wiLl expire on the Termination Date of Dçcembet 31,2U20' tsoth
     parties may'mutuatly agree to extond this Agteement in fïve (l) year inolettrcttts. ProEagator agrces
                                                                                         'fer¡nination Date if there
     io Ar*roy ätl Ptant Maierials of the Cultivari rvithín thlrty (30) days of the
     has been fio exlension Of this Agrccment before the Ter¡niuation Date.

8.   GO\¿EBNING        I,AW:    This Agrromenl will l¡e interpretcd and construed in ncconlance with the
     ffiWashington,                        including the rights æsociated with bleesh, indemnlfication,
     injunctive relísf, and/or unlimelf orwrongñrl tliselosure ofproprietaty information.

9. N9.'f.ICESI Any notices pìn'susnt to this Agreernent             shatl be   in rvliting     aud atldressed     to   the
     intended patty at the address below.

             To   I{SIIRF:                                                 To P.rignseator::

             V/SIJRF                                              Ph¡elligence, Inc.
             Attn: Ëxecntive Diuector                             clo: AHf?"l LáVÉIT¿E
             1610 NE Eastgate Blvd., Suite 650                    1300NEHenley Ct.
             Pullman, WA 99163                                    Pulhnan, rü499163

I0. A$SIGNMENTI The dghts associated to the Plart lvtaterials of the Cultivars andlor lhe
    tu-p,gnrlbffirf the Propãgator in thls Agreement may not bc assignecl to any thitd pa$y by
    Propagator orcept with the prior written consent of \MSURF.


IN WITNESS WHEREOF, tlre parties lfeteto have causecllhis Agrecment to be executed as of the date
set forth het'ç¡n by their duly autholizeel reprosentatives.



WÄSHING'TON STÂTD                                                 PI.rÍTDLLIGDNC'I, INC.


                                                                  By:
                  Intetim Executive Director
                                                                  Name:        otßlí       LErËP.lÉ
DåIC:         ulwLw                                                                (phesc prlût)


                                                                  'Ttle:       oØ
                                                                   Dato:       tl*1rc


WSlRF-Phytelligenco Inc., Apple Budwood Pi'op. Á.günt             llWnz                            Page 4   of5



                                                 EXHIBIT A - 4
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                                                EXHIBIT A

                                                                    Nun¡bcr of .A.uthorized Plants
'WSU
       Solection             Typo of Plant          Typeof          ofBach Cultivar
Nun_ber or Cultivsr          $peoies Provided       MsrejslPry¡dd   Recipleut is Albr.ved to.Posses{

IJVA38                            apple                budrvood*           Unlinúted

tCeltified Virus.Free Plant Material




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                                            EXHIBIT A - 5
